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     Federal Defender
 2   Matthew C. Bockmon, Bar #161566
     Assistant Federal Defender
 3   801 I Street, 3rd. Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     MANDA LYNN WENTZLOFF
 6
 7
 8                                     IN THE UNITED STATES DISTRICT COURT
 9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )                CASE NO. CR.S-11-476 LKK
                                           )
12                     Plaintiff,          )               STIPULATION AND ORDER TO CONTINUE
                                           )               STATUS CONFERENCE AND TO EXCLUDE
13         v.                              )               TIME PURSUANT TO THE SPEEDY TRIAL
                                           )               ACT
14                                         )
     MANDA LYNN WENTZLOFF,                 )                Date: April 10, 2012
15                                         )                Time: 9:15 a.m.
                       Defendant.          )                Judge: Lawrence K. Karlton
16   _____________________________________ )
17          It is hereby stipulated and agreed to between the United States of America through JARED DOLAN,
18   Assistant U.S. Attorney, and defendant, MANDA LYNN WENTZLOFF, by and through her counsel,
19   MATTHEW C. BOCKMON, Assistant Federal Defender, that the status conference set for Tuesday, March
20   6, 2012, be continued to Tuesday, April 10, 2012, at 9:15 a.m.
21          The reason for this continuance is because additional time is needed for defense preparation and for
22   meetings between the parties with the goal being to resolve the case by way of a disposition. Ms. Wentzloff
23   remains at the residential treatment program. She is doing well in the program and complying with her
24   conditions of pretrial release.
25          It is further stipulated that the time period from the date of this stipulation, March 1, 2012, through and
26   including the date of the new status conference hearing, April 10, 2012, shall be excluded under the Speedy
27   Trial Act (18 U.S.C. §3161(h)(7)(A) &(B)(iv) and Local Code T4, due to the need to provide defense counsel
28   ///
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 1   with the reasonable time to prepare, and that the ends of justice to be served by granting the continuance
 2   outweigh the best interests of the public and the defendant in a speedy trial.
 3   DATED: March 1, 2012
 4          Respectfully submitted,
 5
     BENJAMIN B. WAGNER                                    DANIEL J. BRODERICK
 6   United States Attorney                                Federal Defender
 7   By:
 8    /s/ Matthew C. Bockmon for                            /s/ Matthew C. Bockmon
     JARED DOLAN                                           MATTHEW C. BOCKMON
 9   Assistant U.S. Attorney                               Assistant Federal Defender
     Attorney for United States                            Attorney for Defendant
10                                                         MANDA LYNN WENTZLOFF
11
12                                                    ORDER
13          Based on the reasons set forth in the stipulation of the parties filed on March 2, 2012, and good cause
14   appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT IS HEREBY ORDERED
15   that the status conference currently scheduled for Tuesday, March 6, 2012, be vacated and that the case be set
16   for Tuesday, April 10, 2012, at 9:15 a.m. The Court finds that the ends of justice served by granting such
17   a continuance outweigh the best interests of the public and the defendant in a speedy trial. Accordingly, IT
18   IS HEREBY ORDERED that, for the reasons stated in the parties’ March 2, 2012, stipulation, the time within
19   which the trial of this matter must be commenced under the Speedy Trial Act is excluded during the time
20   period from the date of this stipulation, March 1, 2012, through and including April 10, 2012, pursuant to 18
21   U.S.C. §3161(h)(7)(A)&(B)(iv) [reasonable time to prepare] and Local Code T4.
22
     DATED: March 2, 2012
23
24
                                                           LAWRENCE K. KARLTON
25                                                         Senior United States District Judge
26
27
28                                                          2
